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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF ARIZONA
10   Griselda Moreno, et al.,                                 CV 21-00013-TUC-JCH
11                         Plaintiffs,                     STIPULATION TO AMEND
                                                             SCHEDULING ORDER
12          vs.
                                                      (Second Request to Continue Discovery
13                                                                 Deadline)
     United States of America,
14
                           Defendant.
15
16          The parties respectfully request a 90 day continuance of the discovery deadlines in
17   this case. The parties have agreed to participate in a private mediation before Hon.
18   Christopher M. Skelly on July 15, 2022 and wish to minimize further litigation expense
19   until the pending mediation is complete. If the case resolves at mediation, the parties will
20   be able to avoid further litigation expense entirely. Accordingly, the parties propose the
21   following amendments to the remaining deadlines in the Court’s Scheduling Order:
22             • The deadline for expert depositions shall be continued from May 31, 2022 to
23                 August 31, 2022.
24             • The fact discovery deadline shall be continued from May 31, 2022 to August
25                 31, 2022.
26             • The deadline for dispositive motions shall be continued from August 1, 2022
27                 to October 31, 2022.
28
     Case 4:21-cv-00013-JCH Document 27 Filed 05/31/22 Page 2 of 2




 1            Respectfully submitted this 31st day of May, 2022.
 2
 3                                              MERCALDO LAW FIRM

 4                                              s/Carlo N. Mercaldo
                                                Carlo N. Mercaldo
 5
                                                Attorney for Plaintiffs
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 8                                              GARY M. RESTAINO
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10
                                                s/Melissa M.Kroeger
11                                              MELISSA M. KROEGER
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